           Case 2:07-cr-00348-MCE Document 86 Filed 05/06/09 Page 1 of 2


1    DANIEL BRODERICK, Bar #89424
     Federal Defender
2    801 I Street, 3rd Floor
     Sacramento, California 95814
3    Telephone: (916) 498-5700
4    Attorney for Defendant
     DARRON ANTJUAN REED
5
6
7
8                       IN THE UNITED STATES DISTRICT COURT
9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       )     No. CR-S-07-348 FCD-GGH
                                     )
12                  Plaintiff,       )
                                     )     STIPULATION AND ORDER
13        v.                         )     MODIFYING PRE-TRIAL RELEASE
                                     )     CONDITIONS
14   DARRON ANTJUAN REED             )
                                     )
15                                   )     Judge: Hon. Gregory G. Hollows
                    Defendants.      )
16   _______________________________ )
17        IT IS HEREBY STIPULATED by and between the parties hereto through
18   their respective counsel, Philip Ferrari, Assistant United States
19   Attorney, attorney for Plaintiff and Daniel Broderick, Federal
20   Defender, attorney for Darron Antjuan Reed, that Mr. Reed’s pretrial
21   release conditions be modified as follows:
22        1.   The home confinement/electronic monitoring condition shall be
23   removed; and
24        2.   The testing condition be vacated.
25        Mr. Reed has been sentenced on the underlying charges.           He has
26   been designated by the Bureau of Prisons to be detained at the federal
27   prison/medical facility in Springfield, Missouri.         He is to report to
28   federal custody to begin service of his sentence no later than noon on
           Case 2:07-cr-00348-MCE Document 86 Filed 05/06/09 Page 2 of 2


1    May 18, 2009.
2         Mr. Reed has purchased a non-refundable, one-way ticket on Delta
3    Airlines from San Francisco to Springfield, via Minneapolis.          His
4    flight is on May 16, 2009, leaving San Francisco at 12:25 p.m. and
5    arriving in Springfield at 11:09 p.m.        Mr. Reed will stay in a hotel
6    that evening and report to the institution either on Sunday, May 17 (if
7    that is permitted by the institution) or Monday morning, May 18.            Mr.
8    Reed receives kidney dialysis treatments twice a week; thus, he must
9    travel on the weekend and report to the institution as soon as possible
10   to resume his treatments.
11        Mr. Reed is currently supervised by Pre-trial Officer Gina
12   Faubion. She has no objection to removal of the electronic
13   monitoring/home confinement condition.       Moreover, she also recommended
14   removal of the testing condition, as all of Mr. Reed’s tests have been
15   negative during the entire time he has been on pre-trial release.
16   Dated: May 5, 2009               Respectfully submitted,
17                                    /s/ Daniel J. Broderick
                                      DANIEL J. BRODERICK
18                                    Federal Defender
                                      Attorney for Defendant
19                                    DARRON ANTJUAN REED
20
                                      LARRY BROWN
21                                    Acting United States Attorney
22                                    /s/Daniel Broderick for
                                      PHILIP FERRARI
23                                    Assistant U.S. Attorney
24
25                                        ORDER
     IT IS SO ORDERED.
26
     DATED: May 6, 2009               /s/ Gregory G. Hollows
27                               HONORABLE GREGORY G. HOLLOWS
                                      United States Magistrate Judge
28   reed.rel


                                            2
